Case 3:20-cr-00086-WHO Document 155-4 Filed 09/01/22 Page 1 of 11




       EXHIBIT C
      Case 3:20-cr-00086-WHO Document 155-4 Filed 09/01/22 Page 2 of 11




1. [1509914936_111_12_168_443a] [20171105 12:48]

[Dialed number = 4159397271]

START: 3:12

       Alex: Because I don’t know if those guys took my watch or if it was left on the bed.

              Everything was on the bed.

       Mayel: Uh-huh, yes, there-there was a heck of a mess once I went in, and, um…

       Alex: Yes, I stepped outside, and they got me without my wallet, without anything.

       Mayel: Uh-huh.

       Alex: I did have my necklace and my bracelet.

       Mayel: Uh-huh.

       Alex: They took that away from here and they’ll give it back to me.

       Mayel: Uh-huh.

       Alex: But it’s better to keep that stuff in your house. Keep them in your house and…

       Mayel: Yes.

       Alex: And let’s see what we’ll do later on. Um, maybe have [inaudible words (?)]. I feel

              bad because it’s money. It’s a lot of money in clothes.

       Mayel: No, yes, yes.

       Alex: [O/V]

       Mayel: Yes, I’ll do all that for you. What-what I wonder about is whether you didn’t put

              anything in-in-in that little stash that I had. Do you remember?

       Alex: No, nothing, nothing, nothing.

       Mayel: Oh, then…

       Alex: No, there were 46 balls that I had lying on the bed.

                                               1
     Case 3:20-cr-00086-WHO Document 155-4 Filed 09/01/22 Page 3 of 11




      Mayel: Oh, dude.

      Alex: They took everything that I had in there. [inaudible word (?)] And I told that guy

             that I didn’t want to have so much food because of that same thing, and he still

             sent me a lot of food, but, well [inaudible words (?)].

END: 4:12

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START: 7:36

      Alex: The phone was there. They took away my phone too.

     Mayel: Yes.

     Alex: They took everything from work, everything.

END: 7:58




START: 10:38

      Alex: Well, what was I going to tell you? No, it’s because they got inside with a lot of

             clasps [ganchos?], a lot of metal bars. [inaudible words (?)] because you could

             hear a lot of noise from there, because they had me out front in a car.

      Mayel: Uh-huh.

      Alex: And I could hear the noise inside. They came out with boxes.

      Mayel: No, well they searched everything, the living room, and all the rooms. Last time

             they only searched one, but this time they searched everything, everything and

             they left the living room in a heck of a mess. That’s it. Um… And at the end, he

             called me. That dude didn’t know what the heck was going on, um, until I talked


                                               2
     Case 3:20-cr-00086-WHO Document 155-4 Filed 09/01/22 Page 4 of 11




             to him. “No, look, it’s just that this happened.” He said, “Oh, I see.” And that’s it.

             Then when I went to pick him up at the house, he said that-that the owner told

             him to get out.

     Alex: Hey, so, um, no, and it looks like it was his damn fault, dude. It’s-it’s another

             thing that we need to talk about with the lawyer. Ask him why they came after

             me.

     Mayel: Uh-huh.



END: 11:38



START: 13:06



     Alex: There was nowhere to send the fucking money, and I had it in there just going in

             circles. [inaudible words (?)] To be honest, I let my guard down. Over the last two

             months, I was behaving very stupidly.

     Mayel: Uh-huh.

     Alex: My brain wasn’t working properly.

     Mayel: Yes.

     Alex: So, I fucked up. I messed up. I wasn’t doing stuff properly.

     Mayel: Yes.

     Alex: And I didn’t prepare for this. I had plan B, well, plan A and B, for Chango to do

             his stuff, and no, I didn’t leave anything ready for Chango. If Chango comes here,

             what is he going to do? That poor guy doesn’t know anything.


                                               3
      Case 3:20-cr-00086-WHO Document 155-4 Filed 09/01/22 Page 5 of 11




      Mayel: Uh-huh.

      Alex: I didn’t have anything ready. I should have left everything ready in there so that if

               some day something happens to me, Chango would continue eating just the same,

               but it all [inaudible words (?)].

END: 13:46




[START: 12:15]

      Alex: [Inaudible words (?)] Um, this has nothing to do with Changuito. This happened

               after Changuito.

      Female Speaker 1:        Yes, I know.

      Alex: The Changuito is clean, his house and everything. His house is clean.

      Female Speaker 1:        Oh, that’s good. So, I can tell him that, because he also wanted to

               know about that.

      Alex: [U/A] This isn’t something old. It’s something new that—I did some stupid stuff

               myself.

      Female Speaker 1:        Okay.

      Alex: I met some people that I shouldn’t have.



[END: 12:40]


2. [1510432615_162_12_176_427a] [20171111 12:36]

[Dialed number = 4159397271]


                                                   4
     Case 3:20-cr-00086-WHO Document 155-4 Filed 09/01/22 Page 6 of 11




START: 5:20

      Alex: Yes, it’s-it’s just that to be honest, everything is stacked against me in there. They

              got a lot of evidence, dude.

      Mayel: Uh-huh.

      Alex: With my prints and everything. They got a lot of evidence there. There is no

              excuse to make. What excuse can I make?



[END: 5:35]



[START: 11:22]

      Alex: No, yes, yes, because I think that everything is stacked against me in there

              because everything was there—I had everything open in there. Well, the food was

              open. I was working on it. I just went to the store, and that’s when everything

              turned out badly.

      Mayel: Mm-hm.

      Alex: I can’t say it was in the closet hidden in a little backpack. No, everything was on

              the bed, all there lying around.

      Mayel: Yes.

      Alex: There was cash in there too, my fingerprints everywhere. So, what can I say?

              There is not much to argue there.

[END 12:20]




                                                  5
      Case 3:20-cr-00086-WHO Document 155-4 Filed 09/01/22 Page 7 of 11




3. [1510513849_215_13_170_337a] [20171112 11:10]

[Dialed number = 0000000000]

[START: 4:38]

       Alex: I told him - I told him. “I have everything to lose,” I said, “Because they caught

              me in the house there. They caught me with all the things there and, what am I

              going to say?”

       Karla: That no, no.

       Alex: I have nothing to say well. I have nothing to say.

       Karla: Well, you have no defense.

[END: 5:00]




   4. [1517511354_124_13_172_991a] [20180201 10:55]

[Dialed number = 0115216444572206 ]


[START: 2:29]

       The police didn’t break my door down. They waited for me to go out and they forced

       me—and they opened it with my key.

[END: 2:45]




[START: 3:16]

       They frisked me. They took the key away from me and ran over there to open the door.



                                                6
      Case 3:20-cr-00086-WHO Document 155-4 Filed 09/01/22 Page 8 of 11




[END: 3:21]



[START: 4:30

       My room was locked and they opened it with my key. I wasn’t there.

[END: 4:33]




5. [1521675556_123_13_151_912a] [20180321 16:39]

[Dialed number = 0115216444572206]]

[START: 5:35]

       Alex: Um, they gave him permission to—they gave him the data. That crazy guy didn’t

              see it. I don’t know, all the deleted texts—they recovered them, and they handed

              it over to the police, from the last three-four days.

       Female Speaker 1:     Uh-huh, no.

       Alex: [O/V] Yes.

       Female Speaker 1:     The deleted ones from your phone, they gave it to them?

       Alex: No, yes. I-I would delete everything, see?

       Female Speaker 1:     Yes.

       Alex: And-and-and the company recovered the texts from the last two or three days.

       Female Speaker 1:     Oh.

       Alex: Looks like more. They recovered them, but they only did about six or seven as an

              example. That’s it.

       Female Speaker 1:     Uh-huh.



                                                 7
Case 3:20-cr-00086-WHO Document 155-4 Filed 09/01/22 Page 9 of 11




Alex: They used them as an example and-and-and they-they say that there’s more on

       that disk.

Female Speaker 1:     Darn, how pesky they are.

Alex: That guy told me-that guy told me that—your question about how compromising

       that phone that isn’t mine may be.

Female Speaker 1:     Uh-huh.

Alex: I don’t know how compromising those texts contained in there could be.

Female Speaker 1:     Mm-hm.

Alex: Because on those texts that I have there, bad words aren’t used. Everything is so

       simple.

Female Speaker 1:     Yes.

Alex: They talk about flowers and about stuff like that. It’s not as compromising, see.

Female Speaker 1:     Mm-hm.

Alex: But I don’t have the other ones.

Female Speaker 1:     Oh, okay.

Alex: I don’t know how many they saw.

Female Speaker 1:     And that’s—did they find that phone there?

Alex: Yes, they found it there.

Female Speaker 1:     On top of…

Alex: They found it at home.

Female Speaker 1:     Oh.

Alex: And they allegedly found both, but mine-mine wasn’t full of photos [inaudible

       words (?)].



                                         8
     Case 3:20-cr-00086-WHO Document 155-4 Filed 09/01/22 Page 10 of 11




      Female Speaker 1:     Mm-hm.

      Alex: That one only had a lot of photos, and the other one had texts, texts.

      Female Speaker 1:     Mm-hm.

      Alex: Photos from the other one.

      Female Speaker 1:     Mm-hm.

      Alex: I’m sure of that.

      Female Speaker 1:     Oh, my God. And what else do you want me to ask him?

      Alex: Just that, how bad it is—how revealing it is.

      Female Speaker 1:     How much will it affect you.

[END: 7:33]




6. [1521859880_147_12_183_804a] [20180323 19:51]

[Dialed number = 0115216444572206]

[START: 3:47]

      Alex: So, I want him to be ready. They’re not going to be left there, and please do me

              this favor.

      Female Speaker 1:     Okay.

      Alex: Say-say that the one that lived there with-with—the chubby guy. That he wanted

              [inaudible words (?)] to give [someone?] money.

      Female Speaker 1:     Mm-hm.

      Alex: And that other guy, Alejandro, didn’t really live there. He would only go there

              every now and then.


                                               9
    Case 3:20-cr-00086-WHO Document 155-4 Filed 09/01/22 Page 11 of 11




     Female Speaker 1:       Oh, okay.

     Alex: He’s a sharp guy [inaudible words (?)]. Have Mayel explain it to him. Make him

              feel confident. Tell him that he isn’t in any trouble.

     Female Speaker 1:       Oh, okay.

     Alex: Tell him not to be nervous. Don’t threaten him. He doesn’t have anything to do

              with it.

     Female Speaker 1:       Okay. Mm-hm.

     Alex: Because I told him that that guy didn’t even know about it. He can say that he

              didn’t even know about it.

     Female Speaker 1:       Uh-huh.

     Alex: He can go using that version. He can say that he didn’t know anything about it,

              because I told these guys that the fat guy didn’t know about it.

     Female Speaker 1:       Oh, okay.

     Alex: But he should know through the other person [inaudible words (?)] that that guy is

              Chuy. That, no.

     Female Speaker 1:       Okay.

     Alex: OK then.

     Female Speaker 1:       Okay.

[END: 4:34]




                                                10
